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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              Case No. 8:10CR-303
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                    ORDER
MARK LINDSAY,                                )
                                             )
                     Defendant.              )


       This case is before the court on defendant's Motion for Detention Review (#52). The

defendant requests that the court reopen the issue of detention and allow the defendant

to be placed in an appropriate treatment facility based upon a recent chemical dependency

evaluation.

       After reviewing the August 26, 2010 Pretrial Services initial appearance report, the

August 26, 2010 Detention Order (#11), and the defendant's September 17, 2010

substance abuse evaluation report, I find the motion should be denied without hearing.

       The proposed placement fails to address the court's concerns as set out in its

Detention Order, specifically, the court's concerns as to danger based upon the defendant's

age, his three prior felony convictions (robbery, second-degree felony 1986;

sales/cultivation/distribution of hallucinogenic drugs-felony 1992; and driving under

suspension-third offense felony 1995). The defendant's record also contains a prior

convictions for an amended criminal threat (1994) and failure to appear (2007).

Additionally, the proposed treatment program fails to rebut the presumption of detention

under 18 U.S.C.§ 3142(e).
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      IT IS ORDERED: The defendant's Motion for Detention Review (#52) is denied

without hearing.

      Dated this 1st day of November 2010.


                                      BY THE COURT:


                                      S/ F.A. Gossett, III
                                      United States Magistrate Judge




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